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UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA
                                                      X

                                    :
                                    :                       Misc. Action No. 19-mc-0051 (EGS)
IN THE MATTER OF THE APPLICATION OF :
WP COMPANY LLC d/b/a THE            :
WASHINGTON POST FOR ACCESS TO       :
CERTAIN SEALED COURT RECORDS        :
                                    :
                                    :
                                                      X


            REPLY MEMORANDUM IN FURTHER SUPPORT OF MOTION
           FOR PUBLIC ACCESS TO CERTAIN SEALED COURT RECORDS

       Movant The Washington Post1 submits this reply memorandum in further support of its

motion (the “Motion”) for access to certain sealed court record filed in United States v. Michael

T. Flynn, Criminal Action No. 17-cr-232 (EGS) (D.D.C.) (the “Flynn Case”), in order to briefly

address and clarify certain issues raised by the parties in their responses to the Motion.

       First, the Post appreciates that the Government and Court expeditiously took steps to

partially unseal some of the redacted material from the Court Documents in light of changed

circumstances, including the disclosure of information to the public through the release of the

redacted version of the Office of Special Counsel Report On The Investigation Into Russian

Interference In The 2016 Presidential Election (the “Mueller Report”) in April 2019. However,

the interests of the Post and public in access to the still-redacted portions of the Court Documents

remains no less acute. The parties do not dispute that the First Amendment right of access

applies to these documents, which the Court has expressly stated are relevant to its sentencing of

the Defendant. See Post Mem. at 5-7. Accordingly, in order to justify continued sealing of the

information in this case, the Court must determine for itself, based on “specific findings” on the

1
 Capitalized terms bear the same definitions as in the Post’s Memorandum of Points and
Authorities in Support of Motion for Public Access to Certain Sealed Court Records (ECF No. 1-
1) (“Post Mem.”).
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record, that such sealing “is narrowly tailored and essential to preserve a compelling government

interest.” Washington Post v. Robinson, 935 F.2d 282, 289 (D.C. Cir. 1991) (citation omitted).

See also Press-Enter. Co. v. Superior Ct., 464 U.S. 501, 510 (1984). As the D.C. Circuit

explained in an analogous context, “[i]t is the court, not the Government, that has discretion to

seal a judicial record, which the public ordinarily has the right to inspect and copy,” and the

Government must therefore “give the court a basis for withholding [such documents] from public

view.” Parhat v. Gates, 532 F.3d 834, 851, 853 (D.C. Cir. 2008) (citations omitted).

       Second, the Government asserts that the Post “appears to agree that redactions may

remain in place to protect specific compelling government interests, including ongoing

investigations and the privacy of uncharged individuals.” Government’s Response to Motion,

ECF No. 8 (“Gov’t Resp.”) at 4. Although the Post acknowledges that courts have found those

interests to be compelling in certain cases, this Court must nevertheless determine whether those

interests are sufficiently compelling to justify the continued sealing of the specific information in

this case. In particular, mere invocation of the fact that ongoing investigations exist is

insufficient—the Court must be satisfied that disclosure of the information actually could

“threaten the integrity of those ongoing investigations,” Gov’t Resp. at 6, and that all proposed

redactions are necessary to avoid that result.

       Similarly, generic third-party “privacy” interests may not be sufficient to justify sealing

in an already-high profile case like this one, where those third parties likely include prominent

members of the U.S. President’s campaign and administration whose involvement in the

investigation is already a matter of public record. Certainly, this case is a far cry from a situation

where heretofore unknown third parties will suddenly be subject to “the stigma of having [their]

name[s] associated with a criminal investigation.” Citizens for Responsibility & Ethics in



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Washington v. U.S. Dep’t of Justice, 746 F.3d 1082, 1091 (D.C. Cir. 2014).2 Accordingly, the

mere fact that an individual was not ultimately indicted does not automatically mean that any

mention of their name may be redacted.

       In addition, in its Response, the Government for the first time asserts that certain of the

Court Documents have been redacted in order to protect the “deliberative process privilege.”

Gov’t Resp. at 6-7. The “deliberative process privilege” is typically invoked as an exemption to

the general disclosure requirements of the Freedom of Information Act, 5 U.S.C. § 552(b)(5).

See, e.g., Pub. Emps. for Envtl. Responsibility v. EPA, 288 F. Supp. 3d 15, 23 (D.D.C. 2017).

But the Post was unable to locate a single case in which the deliberative process privilege was

held to justify sealing of a document subject to the First Amendment (or common law) right of

public access to court proceedings and documents.

       In sum, the Post acknowledges that compelling interests may justify continued sealing of

some of the information in the Court Documents. But the Court must determine whether the

Government has met its burden to show that the sealing of all of the specific information in this

case is narrowly tailored to serve those interests.

       Third, the Post appreciates the further clarity from the parties as to the specific nature of

the documents that were filed under seal in the underlying case. Based on those clarifications, as



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  Moreover, courts have held that “privacy and reputational concerns typically don’t provide
sufficient reason to overcome a qualified First Amendment right of access.” United States v.
Loughner, 769 F. Supp. 2d 1188, 1196 (D. Ariz. 2011) (citing In re Application of N.Y. Times
Co. for Access to Certain Sealed Court Records, 585 F. Supp. 2d 83, 93 n.14 (D.D.C. 2008)
(citing In re McClatchy Newspapers, Inc., 288 F.3d 369, 374 (9th Cir. 2002) (stating in a
common law right of access case that “injury to official reputation is an insufficient reason for
repressing speech that would otherwise be free”)); see also In re Special Proceedings, 842 F.
Supp. 2d 232, 245 (D.D.C. 2012) (holding that prosecutors’ “privacy and reputational interests”
did not constitute a “compelling interest that would meet their high burden to justify keeping the
Report [of an investigation into possible prosecutorial misconduct] under seal” under First
Amendment).
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well as the Court’s orders in the Flynn Case of May 16, 2019, the Post filed a filed a

supplemental motion for access to an additional document filed in the case. See ECF No. 11. As

explained in that motion, the legal arguments for access to that document are the same as those

set forth in the Post’s original Motion. See id. at 2-4. In addition, based upon the representations

of the Defendant in his response to the Motion, and a review of the redactions to the Defendant’s

Sentencing Memorandum, the Post is prepared to withdraw its request to unseal the unredacted

version of that document, which was filed in the underlying Flynn Case, ECF No. 49-1.

       Fourth, the Government objects to the imposition of any ongoing obligation to report on

the continued necessity of sealing, and asserts that the Post cited no “authority” for the

imposition of such a “process.” The Government proposes as an alternative that the Court hold

the Motion in abeyance pending the sentencing of the Defendant. The Post disagrees with this

proposal.

       As an initial matter, the “authority” for making such a proposal is the First Amendment

right of access to judicial proceedings, and the widely recognized principle that, “once found to

be appropriate, access should be immediate and contemporaneous.” Grove Fresh Distribs., Inc.

v. Everfresh Juice Co., 24 F.3d 893, 897 (7th Cir. 1994); see Robinson, 935 F.2d at 287

(acknowledging “the critical importance of contemporaneous access” to the fulfillment of “the

public’s role as overseer of the criminal justice process”); see also Lugosch v. Pyramid Co. of

Onondaga, 435 F.3d 110, 126-27 (2d Cir. 2006) (collecting cases). Here, the Government has

asserted that much of the material must remain sealed to protect ongoing investigations. But, as

courts have recognized, “the government’s interest in its ongoing investigation does not ongo

forever.” United States v. Moten, 582 F.2d 654, 661 (2d Cir. 1978). Indeed, it is the

Government that does not—and cannot—cite any “authority” for the proposition that court



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documents of profound interest to the public and to which the First Amendment right of access

applies can be kept under seal permanently, even once the ostensible basis for sealing the

documents expires. See Phoenix Newspapers, Inc. v. U.S. Dist. Ct., 156 F.3d 940, 947 (9th Cir.

1998) (“[T]ranscripts of public trial proceedings must be released when the factors militating in

favor of closure no longer exist.”).

       The need for some form of process to facilitate subsequent review of the appropriateness

of sealing in this case is animated by two practical realities: First, the profound public interest in

understanding these proceedings as fully as possible is undeniable. To the extent imposing an

administrative burden may not be justifiable in every case, it surely is here. Second, the

Government is the only party in a position to know whether the asserted bases for sealing remain

in place, because only the Government will know when the “ongoing” investigations that relate

to the redactions end.

       As the proponent of sealing presumptively public court documents, the Government bears

the “burden of demonstrating a compelling interest to justify sealing.” Robinson, 935 F.2d at

283. Meeting that burden of proof on a going-forward basis may well entail some administrative

burden. But the fact that properly vindicating the public’s First Amendment right to access these

Court Documents may impose some burden on the Government is not a reason to allow the

Court Documents to remain indefinitely sealed without justification. Cf. United States v.

Camick, 796 F.3d 1206, 1213 n.5 (10th Cir. 2015) (rejecting Government’s request that

supplemental record in case be sealed in its entirety “because review or redaction would be

unduly burdensome and costly,” because this argument “overlooks” the presumption of access to

judicial records); United States v. Valenti, 987 F.2d 708, 715 (11th Cir. 1993) (rejecting

government’s argument that court must “avoid binding the district court to any formal procedure



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[for docketing court filings] that is unduly burdensome,” because the docketing procedure then in

place “is inconsistent with affording the various interests of the public and the press meaningful

access to criminal proceedings”).

       Nevertheless, as a potentially less “burdensome” alternative to the imposition of a longer-

term, ongoing requirement for the Government to report back to the Court on the need for

continued sealing, the Post respectfully proposes that the Court set a “sunshine date” by which

any still-sealed information must be unsealed absent a showing by the Government or other

interested party that continued sealing is justified. The Post respectfully proposes further that

this date be set as one week after the Defendant is sentenced by this Court or three months from

the date the Court resolves this Motion—whichever is sooner. That is precisely what Chief

Judge Howell ordered just last week in response to an application for access to sealed warrant

materials related to the investigation and prosecution of President Trump’s former attorney,

Michael D. Cohen. See In re Application for Access to Certain Sealed Warrant Materials, No.

19-mc-44 (BAH), 2019 WL 2184825, at *3 (D.D.C. May 21, 2019). In that case, the

Government stated it “ha[d] no objection to submitting a status report on the need for continued

sealing on whatever date the Court deems appropriate.” Id. (internal quotation marks omitted).

Accordingly, the court ordered the Government to submit such a status report three months after

the order. See id. The Post would not object to a similar approach in this case.3

       In any event, the Post does not believe that this Motion should be held in abeyance in the

meantime. To the extent that the Government has not met the standards to justify continued

sealing of the information that remains redacted from the Court Documents, that material can



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  Because the Post withdraws its request to further unseal the Defendant’s sentencing
memorandum, no “sunshine date” or other future reporting obligation is necessary with respect
to the redactions to that document.
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and should be unsealed without delay. And even if compelling interests justify sealing as of

today, the Court’s analysis and findings as to which interests are and are not sufficiently

compelling to justify sealing would provide helpful guidance for the parties in determining when

information can be further unsealed in the future as circumstances change.

                                          CONCLUSION

       The Post’s Motion should be granted, and the Court Documents should be unsealed in

full, to the extent the Court is not able to make specific findings that continued sealing of the

information is narrowly tailored to serve compelling interests. The Court should also implement

a process for further review of the necessity for continued sealing. At a minimum, the Court

should set a “sunshine date” of no later than one week after the Defendant is sentenced or three

months from the date the Court resolves this Motion, whichever is sooner, at which time the

Government must submit a status report explaining the need for any continued sealing of the

Court Documents or, otherwise, move to have those documents unsealed.

Dated: May 31, 2019

                                                  Respectfully submitted,

                                                  /s/ Laura R. Handman
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